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                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION


    In re:                                                     Chapter 11

    RED RIVER TALC LLC,1                                       Case No. 24-90505 (CML)

                       Debtor.


                 DEBTOR’S PRELIMINARY RESPONSE TO
         OBJECTION OF THE COALITION OF COUNSEL FOR JUSTICE
 FOR TALC CLAIMANTS TO DEBTOR’S EMERGENCY EX PARTE APPLICATION
FOR ENTRY OF AN ORDER AUTHORIZING THE EMPLOYMENT AND RETENTION
 OF EPIQ CORPORATE AND EMERGENCY EX PARTE MOTION FOR THE ENTRY
    OF AN ORDER RECONSIDERING AND VACATING THE EX PARTE ORDER
  AUTHORIZING THE EMPLOYMENT AND RETENTION OF EPIQ CORPORATE
  RESTRUCTURING, LLC AS CLAIMS, NOTICING AND SOLICITATION AGENT

                                        (Related to Docket Nos. 19, 39, 257)

                      Red River Talc LLC, the above-captioned debtor (the “Debtor”) files this

preliminary response to the Coalition of Counsel for Justice of Talc Claimants’ (the “Coalition”)

objection to the Debtor’s Emergency Ex Parte Application for Entry of an Order Authorizing the

Employment and Retention of Epiq Corporate Restructuring, LLC as Claims, Noticing and

Solicitation Agent2 and emergency ex parte motion for the entry of an order reconsidering and

vacating the Order Authorizing the Employment and Retention of Epiq Corporate Restructuring,

LLC as Claims, Noticing and Solicitation Agent3 [Dkt. 257] (the Coalition’s objection and

motion together, the “Emergency Motion”).




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             The last four digits of the Debtor’s taxpayer identification number are 8508. The Debtor’s address is
             501 George Street, New Brunswick, New Jersey 08933.
2
             See Dkt. 19.
3
             See Dkt. 39.


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                 At the conclusion of the hearing before the Court on October 10, 2024, the Court

directed the parties to meet-and-confer on a schedule to address dismissal, voting and

confirmation-related issues that have been raised since the filing of this chapter 11 case. At the

hearing, counsel for the Coalition proposed that the parties meet the following day, October 11,

2024. Counsel for the Debtor thereafter communicated with counsel for the Coalition to

schedule a meet-and-confer on October 11, 2024. The Coalition requested that the meeting be

adjourned—due to the religious holiday and scheduling conflicts of counsel for the Coalition—

and counsel to the Debtor agreed, with the parties scheduling the meet-and-confer for Sunday,

October 13, 2024. Counsel to the Coalition subsequently cancelled that meet-and-confer due to

another conflict, and rescheduled it for October 14, 2024 at 2:30 p.m., Central Time.

                 Yet, on Sunday, October 13, 2024, prior to any meet-and-confer and with no

advance notice to the Debtor, the Coalition filed the Emergency Motion, which raises voting and

confirmation-related issues that will be the subject of the meet-and-confer.4 See Emergency Mot.

at 2-12 (detailing Coalition’s view of the procedures for voting and the voting results). The

Debtor strongly disputes the allegations set forth in the Emergency Motion and, given the




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        Notwithstanding the Court’s statement that the Coalition will have “a hill to climb” with regard to
        reconsideration of Epiq Corporate Restructuring, LLC’s (“Epiq”) retention in this case, see Sept. 30, 2024
        Hr’g Tr. at 31:7-11, the Coalition has stated its intention to object to the retention of Epiq since the
        beginning of this chapter 11 case and has suggested that the Debtor acted improperly in “trying to ram
        through the retention of a claims agent.” See Sept. 23, 2024 Hr’g Tr. at 37:24-38:2, 43:12-18; see also
        Emergency Mot. ¶¶ 2, 43-45. But the Debtor simply followed the process set forth in the Procedures for
        Complex Cases in the Southern District of Texas (the “Complex Procedures”), which provides that
        “[m]otions seeking to employ a Claims Agent should use the official form of order located on the Court’s
        website,” which form is styled as an emergency ex parte application for employment and retention of a
        claims agent. See Complex Procedures, F. 12; see also
        https://www.txs.uscourts.gov/sites/txs/files/ClaimsAgentRetention01-23-23.pdf. Neither the Coalition nor
        any other party has been deprived of any rights or ability to object to the solicitation and tabulation of votes
        in this case, or to take discovery with respect to Epiq’s role in the solicitation and voting process, as a result
        of Epiq’s retention as the claims, noticing and solicitation agent in this case.

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overlapping issues, intends to discuss scheduling of and discovery related to the Emergency

Motion at the meet-and-confer later today.

                 As set forth in the Declaration of John K. Kim in Support of Chapter 11 Case and

Certain First Day Pleadings [Dkt. 17] (the “Kim Declaration”), it is the opposing firms,

including Beasley Allen Crow Methvin Portis & Miles, PC of the Coalition, that engaged in

improper behavior with regard to the vote on the Debtor’s prepackaged plan of reorganization.

See Kim. Decl. ¶¶ 125, 128. The Debtor itself intends to seek discovery regarding the Coalition

member firms’ and other opposing firms’ actions during the solicitation and voting process, the

allegations raised in the Emergency Motion, as well as the other dismissal and confirmation

issues that have been raised. But any alleged voting improprieties are not a basis to challenge the

retention of Epiq as claims, noticing and solicitation agent in this case—rather, such allegations

go only to the propriety of the solicitation and tabulation procedures.

                 The Debtor, therefore, respectfully requests the Court deny the request to consider

the Emergency Motion on an emergency ex parte basis, and instead, address the Emergency

Motion after full discovery of the voting and confirmation-related issues that the parties have

raised in this chapter 11 case. Indeed, the Coalition’s request for emergency ex parte

consideration of the Emergency Motion is itself in tension with the Coalition’s statements in the

Emergency Motion that the “Court should consider the evidence,” “[d]iscovery should occur”

and the Court should “rule based on what that evidence shows.” Emergency Mot. ¶¶ 38, 49.

                 At this time, prior to discovery, there is only limited evidence before the Court.

Any hearing and ruling on the Emergency Motion should await the completion of discovery on

the voting and confirmation related-issues, which the Debtor submits will demonstrate that the




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Debtor, Epiq, Johnson & Johnson and the other parties-in-interest in support of this chapter 11

case acted properly and in accordance with the solicitation procedures proposed by the Debtor.

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 Dated: October 14, 2024                  Respectfully submitted,
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                                       Certificate of Service

               I certify that on October 14, 2024, I caused a copy of the foregoing document to
be served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas, and will be served as set forth in the Affidavit of Service to be filed
by the Debtor’s claims, noticing, and solicitation agent.

                                                                /s/ John F. Higgins
                                                                John F. Higgins




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